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           EXHIBIT E
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     ROBERT JOSEPH PIA (SBN: 115179)
 1
     LAW OFFICES OF ROBERT PIA
 2   235 Pine Street Fl 15
     San Francisco, CA 94104
 3   Telephone: 415 743-2898
     Voice Mail: 415 249-3890
 4   Facsimile: 720 367-0521
     E-mail: pialaw@earthlink.net
 5

 6   Attorney for Defendant
     C&H SUGAR COMPANY, INC
 7

 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                             COUNTY OF CONTRA COSTA - UNLIMITED
10

11
     JOHN HOLMAN, an individual,                             CASE NO. C20-01383
12
            Plaintiff,                                       ANSWER OF DEFENDANT C&H
13                                                           SUGAR COMPANY, INC. TO
                                                             PLAINTIFF’S COMPLAINT FOR
14          v.                                               DAMAGES__                 _

15   C&H SUGAR COMPANY, INC., a Delaware                     [Assigned to Dept. 33 for All Purposes]
     Corporation and DOES 1-35, inclusive,
16
            Defendants.
17

18

19          Defendant C&H SUGAR COMPANY, INC. (referred to below as “C&H”) hereby
20   responds to Plaintiff’s Complaint for Damages filed July 23, 2020 (the "Complaint") as follows:
21
                                           GENERAL DENIAL
22
            Pursuant to Code of Civil Procedure §431.30(d), C&H denies every allegation of the
23
     Complaint, and specifically denies plaintiff is entitled to any sum or sums or any relief from or
24

25   against C&H.

26   ///

27   ///
28
                                                      1
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.           C20-01383
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                                                 DEFENSES
 1

 2          Pursuant to Code of Civil Procedure §431.30(g), C&H is informed and believes, and

 3   thereon alleges, that each of the following defenses is applicable to each of the causes of action of

 4   the Complaint:
 5
            AS A FIRST AND SEPARATE DEFENSE, C&H states that the purported causes of
 6
     action alleged against C&H fail to state facts sufficient to constitute a cause of action against
 7
     C&H. C&H further states the facts alleged are insufficient to constitute a cause of action against
 8
     C&H either under the California Fair Employment and Housing Act (“FEHA”) or under common
 9

10   law. C&H makes the foregoing allegations for purposes of notice to plaintiff, and not to shift

11   plaintiff's burden of proof as to the facts, the elements of each cause of action, or the burden of
12   persuasion as to the applicable law.
13
            AS A SECOND AND SEPARATE DEFENSE, C&H states that plaintiff's purported
14
     causes of action against C&H are barred by applicable statutes of limitations, including without
15
     limitation, by Government Code §§12960(d), 12960(e), 12965(b), and subsections (d)(1), (d)(2),
16

17   (e)(1), and/or (e)(2) of §12965, as applicable, all such sections as amended and in effect as of the

18   times plaintiff’s various causes of action arose, expired, and became time-barred, by Code of

19   Civil Procedure §§335.1 and 340 (including subsections (a) and (c) of §340), by 42 USC
20   §§2000e--5(e) (1) and 5(f)(1) through (f)(5), as applicable, by 29 CFR 1601.28 (including
21
     subsections (a)(1) through (a)(4) and (e)(1), as applicable) and by the case law regarding the
22
     statute(s) of limitations applicable to plaintiff’s claim or claims against C&H.
23
            AS A THIRD AND SEPARATE DEFENSE, C&H states the Court is without jurisdiction
24

25   or the Complaint is otherwise barred against C&H based on the failure by plaintiff to exhaust

26   administrative remedies as against C&H as to the facts and causes of action alleged in the

27   Complaint. C&H further states the administrative complaint filed by plaintiff with the California
28
                                                       2
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.            C20-01383
     Case 4:20-cv-06010-KAW Document 1-1 Filed 08/26/20 Page 29 of 44


     Department of Employment and Housing (“DFEH”) fails to state sufficient charging allegations
 1

 2   to support the Complaint, and contains other material defects, such as alleging adverse

 3   employment actions were taken by C&H against plaintiff. C&H further states the allegations in

 4   the Complaint exceed the scope of the allegations of the administrative complaint.
 5
            AS A FOURTH AND SEPARATE DEFENSE, C&H states plaintiff’s causes of action
 6
     and claims for damages against C&H are barred by the doctrine of avoidable consequences. C&H
 7
     further states that, to the extent plaintiff suffered any of the harm alleged in the Complaint, the
 8
     doctrine of avoidable consequences is applicable in that: C&H took reasonable steps to prevent
 9

10   and correct any workplace discrimination, harassment, and/or retaliation; plaintiff unreasonably

11   delayed and failed to use and/or cooperate with preventive and corrective measures that C&H
12   provided; timely and reasonable use by plaintiff and his cooperation with C&H’s procedures
13
     would have prevented all or part of the harm allegedly suffered by plaintiff.
14
            AS A FIFTH AND SEPARATE DEFENSE, C&H states plaintiff failed to properly
15
     mitigate any damages he may have suffered, and as a result of such failure to mitigate, any
16

17   damages must be barred or reduced accordingly.

18          AS A SIXTH AND SEPARATE DEFENSE, C&H states plaintiff has failed to state facts

19   sufficient to support a claim for punitive or exemplary damages against C&H. C&H makes the
20   foregoing allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of proof
21
     as to the facts and elements required for such damages or his burden of persuasion as to the
22
     applicable law.
23
            AS A SEVENTH AND SEPARATE DEFENSE, C&H states the Constitutions of the
24

25   United States and the state of California bar any claim for punitive damages as against C&H.

26   C&H further states the punitive damages sought by plaintiff are unconstitutional as against C&H

27   under the due process clauses of the United States Constitution and/or the California
28
                                                       3
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.             C20-01383
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     Constitution, pursuant to the 14th Amendment of the United States Constitution and Article 1,
 1

 2   Section 7 of the California Constitution.

 3          AS AN EIGHTH AND SEPARATE DEFENSE, C&H states the Complaint fails to state

 4   facts sufficient for a claim of compensatory damages (including emotional distress) against C&H
 5
     to the extent plaintiff alleges any physical, mental or emotional injuries arising out of his
 6
     employment. C&H further states that except for actual and unlawful (as opposed to merely
 7
     perceived) discrimination, harassment and/or retaliation in employment, plaintiff’s exclusive
 8
     remedy for such alleged physical, mental or emotional damages lies under the California
 9

10   Workers’ Compensation Act, California Labor Code §§3600, et seq., which preempts plaintiff’s

11   claims against C&H.
12          AS A NINTH AND SEPARATE DEFENSE, C&H states that the Complaint and its
13
     purported causes of action alleged against C&H are barred by the doctrine of estoppel in one or
14
     more of its forms, including without limitation, equitable estoppel, estoppel in pais, estoppel by
15
     conduct, estoppel by silence or inaction, estoppel by laches, estoppel by negligence, and judicial
16

17   estoppel.

18          AS A TENTH AND SEPARATE DEFENSE, C&H states that the Complaint and its

19   purported causes of action alleged against C&H are barred by the doctrine of unclean hands.
20          AS AN ELEVENTH AND SEPARATE DEFENSE, C&H states that as against C&H, the
21
     Complaint and its purported causes of action against C&H are barred by the doctrine of laches.
22
            AS A TWELTH AND SEPARATE DEFENSE, C&H states that the Complaint and its
23
     purported causes of action against C&H are barred by the defense(s) of privilege, qualified or
24

25   conditional privilege, or otherwise privileged conduct by C&H. Further, C&H is not liable for

26   wrongful conduct by persons other than C&H or by persons for whom C&H is or was not legally

27   responsible in the circumstances. Further, C&H’s conduct and steps taken in investigating
28
                                                       4
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.            C20-01383
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     plaintiff’s belated report(s) or his complaint(s) and in taking remedial actions were privileged.
 1

 2          AS A THIRTEENTH AND SEPARATE DEFENSE, C&H states that the Complaint and

 3   its purported causes of action against C&H are barred to the extent plaintiff’s own conduct

 4   caused or contributed to any harm or injury alleged by plaintiff.
 5
            AS A FOURTEENTH AND SEPARATE DEFENSE, C&H states that plaintiff’s
 6
     Complaint and causes of action against C&H are barred by the defense of consent.
 7
            AS A FIFTEENTH AND SEPARATE DEFENSE, C&H states if plaintiff were to prove
 8
     his disability or any complaint about discrimination, harassment or retaliation was a substantially
 9

10   motivating factor for conduct by C&H, or if plaintiff contends he was subjected to any adverse

11   employment action by C&H (which C&H denies), then plaintiff’s claims would nonetheless be
12   barred against C&H because such conduct or action would have occurred absent any such
13
     motive.
14
            AS A SIXTEENTH AND SEPARATE DEFENSE, C&H states plaintiff’s claim or claims
15
     are barred by the nature of the business and/or by the business necessity and job relatedness
16

17   defense(s).

18          AS A SEVENTEENTH AND SEPARATE DEFENSE, C&H states that plaintiff’s

19   Complaint and causes of action against C&H are barred by the doctrine of waiver.
20          AS AN EIGHTEENTH AND SEPARATE DEFENSE, C&H states if plaintiff were
21
     entitled to any award, parties and persons other than C&H would be responsible for plaintiff's
22
     injuries and damages, if any. Accordingly, any award to plaintiff should not lie against C&H,
23
     and should be apportioned, reduced or extinguished as against C&H, by such conduct of other
24

25   parties. C&H makes the foregoing allegations for purposes of notice to plaintiff, and not to shift

26   plaintiff's burden of proof as to the facts or elements of each claim, issues of causation, or burden

27   of persuasion as to the applicable law.
28
                                                       5
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.            C20-01383
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            AS A NINETEENTH AND SEPARATE DEFENSE, C&H states any recovery by
 1

 2   plaintiff for non-economic damages, if any, is limited by the provisions of Civil Code §§1431.1

 3   and 1431.2.

 4          AS A TWENTIETH AND SEPARATE DEFENSE, C&H states that one or more of
 5
     plaintiff's claims in his causes of action against C&H, including without limitation one or more of
 6
     his alleged items of damages, are barred by plaintiff's election of remedy and/or failure of
 7
     prosecution, as to another charge, complaint or proceeding.
 8
            AS A TWENTY-FIRST AND SEPARATE DEFENSE, to the extent the vague,
 9

10   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that its

11   reasonable job qualification standards are consistent with business necessity, which plaintiff
12   could not meet after interactive process and reasonable accommodation by C&H. C&H makes
13
     the foregoing allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of
14
     proof as to the facts or elements of each claim, issues of causation, or burden of persuasion as to
15
     the applicable law.
16

17          AS A TWENTY-SECOND AND SEPARATE DEFENSE, to the extent the vague,

18   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that prior to

19   plaintiff’s resignation there were periods in which he posed a direct threat to the health or safety
20   in the work place, including to himself, as demonstrated, without limitation to all relevant
21
     incidents or events, by multiple disability leaves of absence granted by C&H to plaintiff pursuant
22
     to the requests of plaintiff and his health care providers.
23
            AS A TWENTY-THIRD AND SEPARATE DEFENSE, to the extent the vague,
24

25   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that as to acts

26   or omissions complained of by plaintiff, C&H had a legitimate, nondiscriminatory reason. C&H

27   makes the foregoing allegations for purposes of notice to plaintiff, and not to shift plaintiff's
28
                                                        6
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.               C20-01383
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     burden of proof as to the facts or elements of each claim, issues of causation, or burden of
 1

 2   persuasion as to the applicable law.

 3           AS A TWENTY-FOURTH AND SEPARATE DEFENSE, to the extent the vague,

 4   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that any
 5
     accommodations that plaintiff can prove in his prima facie case may have seemed reasonable on
 6
     the surface, then the desired accommodation would have imposed an undue hardship.
 7
             AS A TWENTY-FIFTH AND SEPARATE DEFENSE, to the extent the vague,
 8
     unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that any
 9

10   actions complained of by plaintiff, involving any authorized supervisor to whom plaintiff had a

11   reporting relationship, arose from standard oversight of plaintiff’s job performance and any
12   resulting anxiety, stress, or emotional distress is not actionable. C&H makes the foregoing
13
     allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of proof as to the
14
     facts or elements of each claim, issues of causation, or burden of persuasion as to the applicable
15
     law.
16

17           AS A TWENTY-SIXTH AND SEPARATE DEFENSE, to the extent the vague,

18   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that actions

19   complained of by plaintiff arose from his own acts or omissions and are not actionable or any
20   recovery should be reduced because of plaintiff’s own neglect or fault. C&H makes the foregoing
21
     allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of proof as to the
22
     facts or elements of each claim, issues of causation, or burden of persuasion as to the applicable
23
     law.
24

25           AS A TWENTY-SEVENTH AND SEPARATE DEFENSE, to the extent the vague,

26   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that one or

27   more of plaintiff’s claims may be barred or reduced by the after-acquired evidence doctrine.
28
                                                        7
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.              C20-01383
     Case 4:20-cv-06010-KAW Document 1-1 Filed 08/26/20 Page 34 of 44


             AS A TWENTY-EIGHTH AND SEPARATE DEFENSE, to the extent the vague,
 1

 2   unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that actions

 3   or inactions about which plaintiff complains are not actionable because of bona fide occupational

 4   qualifications. C&H makes the foregoing allegations for purposes of notice to plaintiff, and not to
 5
     shift plaintiff's burden of proof as to the facts or elements of each claim, issues of causation, or
 6
     burden of persuasion as to the applicable law.
 7
             AS A TWENTY-NINTH AND SEPARATE DEFENSE, to the extent the vague,
 8
     unspecific, and conclusory allegations of the Complaint raise the issue, C&H states that
 9

10   plaintiff’s claims may be barred or reduced by superseding, intervening cause(s) or causation.

11   C&H makes the foregoing allegations for purposes of notice to plaintiff, and not to shift
12   plaintiff's burden of proof as to the facts or elements of each claim, issues of causation, or burden
13
     of persuasion as to the applicable law.
14
             AS A THIRTIETH AND SEPARATE DEFENSE, C&H states plaintiff failed to
15
     reasonably participate in C&H’s investigation(s) of plaintiff’s reports or complaints. C&H makes
16

17   the foregoing allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of

18   proof as to the facts or elements of each claim, issues of causation, or burden of persuasion as to

19   the applicable law.
20           AS A THIRTY-FIRST AND SEPARATE DEFENSE, C&H states plaintiff failed to
21
     reasonably participate in the reasonable accommodation process. C&H makes the foregoing
22
     allegations for purposes of notice to plaintiff, and not to shift plaintiff's burden of proof as to the
23
     facts or elements of each claim, issues of causation, or burden of persuasion as to the applicable
24

25   law.

26           AS A THIRTY-SECOND AND SEPARATE DEFENSE, C&H states plaintiff’s claims

27   are barred or reduced by plaintiff’s ratification of the alleged acts or omissions he complains of
28
                                                        8
     ANSWER OF DEFENDANT C&H SUGAR COMPANY, INC.
     TO PLAINTIFF’S COMPLAINT FOR DAMAGES - CASE NO.              C20-01383
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            EXHIBIT F
Re: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)              https://webmail.earthlink.net/wam/printable.jsp?msgid=145042&x=285...
                          Case 4:20-cv-06010-KAW Document 1-1 Filed 08/26/20 Page 38 of 44

         Re: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)
          From:              Brian Kesluk <Bkesluk@californialaborlawattorney.com>
          To:                Robert Pia
          Subject:           Re: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)
          Date:              Oct 24, 2019 8:43 AM

         Nevada

         Sent from my iPhone


                  On Oct 24, 2019, at 8:07 AM, Robert Pia <pialaw@earthlink.net> wrote:




                  Thank you for the information and settlement demand, Brian.

                  I am on the road today and tomorrow, back Monday.

                  I am forwarding your email to C&H for discussion.

                  When you refer to "Carson City," are you referring to the city of that name in Nevada
                  or "Carson" in the LA area?

                  Bob Pia
                  Direct: 415-743-2898
                  Cell: 415-308-3440
                  Vmail: 415-230-2733
                  Fax: 720-367-0521
                  http://www.martindale.com/Robert-Joseph-Pia/241614-lawyer.htm
                   -----Original Message-----
                   From: Brian Kesluk
                   Sent: Oct 23, 2019 12:33 PM
                   To: Robert Pia
                   Subject: RE: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)

                   Bob,

                   John Holman worked as a Millright for C and H making $30 an hour.
                   With OT he was making approximately $100,000 annually.
                   At C and H had a full package of beneﬁts and a 401K with employer’s contribuƟons.
                   He has aƩ empted to miƟgate his damages and was forced to take a job with a rehab
                   construcƟon contractor in Carson City.
                   He now makes $20 an hour with no beneﬁts as a general construcƟon helper.

                   Demand for seƩ lement (pre-liƟgaƟon) is $385,000.
                   Should we be forced to ﬁle suit, our demand would increase signiﬁcantly as this would be a “fees
                   case” should we prevail.

                   As discussed, I think John is a great guy and a credible witness. ( Don’t think that about every


1 of 3                                                                                                                     10/28/2019, 1:28 PM
Re: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)          https://webmail.earthlink.net/wam/printable.jsp?msgid=145042&x=285...
                         Case 4:20-cv-06010-KAW Document 1-1 Filed 08/26/20 Page 39 of 44
                 client)
                 However, I am always open to get input from a mutually respected third party mediator if your
                 client is amenable.

                 Thanks



                 Brian S. Kesluk, Esq.
                 Kesluk,Silverstein & Jacob, P.C.
                 9255 Sunset Blvd. Ste. 411
                 Los Angeles, CA 90069
                 Phone (310) 273-3180 Fax (310) 273-6137
                 bkesluk@californialaborlawaƩ orney.com


                 From: Robert Pia [mailto:pialaw@earthlink.net]
                 Sent: Wednesday, October 16, 2019 2:23 PM
                 To: Brian Kesluk <Bkesluk@californialaborlawaƩ orney.com>
                 Subject: RE: Holman v. C&H Sugar Company, Inc. (SeƩ lement Privilege)

                 It might be helpful for you and me to speak first. Good times for a call?

                 Bob Pia
                 Direct: 415-743-2898
                 Cell: 415-308-3440
                 Vmail: 415-230-2733
                 Fax: 720-367-0521
                 http://www.martindale.com/Robert-Joseph-Pia/241614-lawyer.htm
                   -----Original Message-----
                   From: Brian Kesluk
                   Sent: Oct 16, 2019 2:17 PM
                   To: Robert Pia
                   Subject: RE: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)


                   Let me discuss with him and get back to you.

                   Brian S. Kesluk, Esq.
                   Kesluk,Silverstein & Jacob, P.C.
                   9255 Sunset Blvd. Ste. 411
                   Los Angeles, CA 90069
                   Phone (310) 273-3180 Fax (310) 273-6137
                   bkesluk@californialaborlawaƩ orney.com


                   From: Robert Pia [mailto:pialaw@earthlink.net]
                   Sent: Wednesday, October 16, 2019 2:06 PM
                   To: Brian Kesluk <Bkesluk@californialaborlawaƩ orney.com>
                   Subject: Holman v. C&H Sugar Company, Inc. (SeƩ lement Privilege)

                   Brian,

                   Without addressing the substance of the facts and circumstances

2 of 3                                                                                                                 10/28/2019, 1:28 PM
Re: Holman v. C&H Sugar Company, Inc. (Settlement Privilege)   https://webmail.earthlink.net/wam/printable.jsp?msgid=145042&x=285...
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                   alleged in your Oct. 12 email, C&H cannot evaluate whether it
                   would be prudent to invest in pre-litigation mediation without first
                   receiving a demand from Mr. Holman.

                   Mediation is expensive, and the parties should not be put to
                   paying for ADR twice because, in my experience, the court will still
                   expect or require participation in ADR after a lawsuit is filed, even
                   after pre-litigation mediation has failed.

                   Does Mr. Holman have a demand?

                   When would be good times for me to call you to discuss the
                   matter?

                   Bob Pia
                   Direct: 415-743-2898
                   Cell: 415-308-3440
                   Vmail: 415-230-2733
                   Fax: 720-367-0521
                   http://www.martindale.com/Robert-Joseph-Pia/241614-lawyer.htm




3 of 3                                                                                                          10/28/2019, 1:28 PM
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           EXHIBIT G
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REDACTED
                                                                                                                                                             R
                                                                                                                                                              RED




                               REDACTED
                                                                           John Holman                                                   REDACTED



                  Timeline        About       Friends        Photos        Videos         More                        Add Friend



                  Do you know John?
                                                                                                                                             Add Friend
                  To see what he shares with friends, send him a friend request.


                  Intro                                                                   John Holman
                                                                                          May 24 ·
                        Studied at Diablo Valley College

                        Went to Carondelet High School

                        Lives in Gardnerville Ranchos, Nevada

                        From Concord, California

                        Married to Raina Holman




                  Photos                                        See All




                                                                                          4

                                                                                               Like                 Comment                  Share


                                                                                          John Holman
                                                                                          May 23 ·

                  Friends                                       See All

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                                                                                          11

                                                                                               Like                 Comment                  Share


                                                                                          John Holman
                                                                                          May 23 ·

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                                                                               The 2020 Election | Armstrong Economics

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                                                                                          John Holman
                                                                                          May 23 ·




                                                                                      2                                                          9 Shares

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